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5
     Attorneys for Plaintiff,
6    KARA STEWART

7                                    UNITED STATES DISTRICT COURT
8
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
9

10    KARA STEWART, an individual                              Case No.: 3:24-cv-01775-RFL

11                Plaintiff,                                   RESPONSE TO ORDER TO SHOW
                                                               CAUSE RE: CITIZENSHIP OF
12    v.                                                       DEFENDANT FAY SERVICING, LLC
                                                               AND PROOF OF SERVICE
13    FAY SERVICING, LLC; and DOES 1 through
      10, inclusive,
14

15                     Defendants.

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           RESPONSE TO ORDER TO SHOW CAUSE RE: CITIZENSHIP OF DEFENDANT FAY SERVICING, LLC AND PROOF OF SERVICE
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 1
 2   I.        INTRODUCTION
 3             Plaintiff hereby submits this Response to the Court’s Order to Show Cause Re:
 4   Citizenship of Fay Servicing, LLC and Proof of Service.
 5   II.       STATEMENT OF RELEVANT PROCEDUARL FACTS
 6             Plaintiff filed this action and an Ex Parte Application for Temporary Restraining Order on
 7   March 22, 2024. (Dkt. 1, 4.) Plaintiff alleged state law claims for violation of the Homeowner’s
 8   Bill of Rights and an unfair business claim, and jurisdiction was premised on diversity
 9   jurisdiction pursuant to 28 U.S.C. § On March 25, 2024, the Court issued an Order to Show
10   Cause Re: Citizenship of Defendant Fay Servicing, LLC and Proof of Service. (Dkt. 12.) Plaintiff
11   was ordered to file a written response or First Amended Complaint by 12:00 pm on March 26,
12   2024. On March 25, 2024, Plaintiff filed a First Amended Complaint which incorporated federal
13   questions and asserted federal question jurisdiction and supplemental jurisdiction pursuant to(28
14   USC §§ 1331, 1367.
15
     III.      PLAINTIFF’S AMENDED COMPLAINT PROPERLY ASSERTS FEDERAL
16             QUESTION JURISDICTION.

17             The district courts shall have original jurisdiction of all civil actions arising under the

18   Constitution, laws, or treaties of the United States. 28 USC § 1331. In the case at hand, Plaintiff

19   has asserted three causes of action arising from Defendant’s violations of 12 C.F.R. 1024.41. See

20   FAC, first through third causes of action. In addition, Plaintiff’ properly asserts a related state

21   court violation of Business and Profession Code § 17200 based on Defendant’s violations of 12

22   C.F.R. 1024.41. FAC at ¶ 73. In addition, pursuant to 28 USC 1367(a), this Court has jurisdiction

23   over Plaintiffs’ claims for violation of California Civil Code §§§ 2923.6, 2923.7, and the related

24   Business and Profession Code § 17200 violations which are premised on these statutes.

25             Pursuant to Rule 15(c), an amendment to a pleading relates back to the date of the original

26   pleading when “the amendment asserts a claim or defense that arose out of the conduct,

27   transaction, or occurrence set out—or attempted to be set out—in the original pleading”. Fed.

28   Rule Civ. Proc. 15(c)(1)(B). In the case at hand, Plaintiff’s claims for violation of 12 CFR

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 1   1024.41 are premised on the same conduct, transaction, or occurrence as the claims for violation

 2   of California Civil Code 2923.6. Therefore, Plaintiff’s claims for violation of 12 CFR 1024.41

 3   relate back to the original filing date, thus curing any subject matter jurisdictional issues in the

 4   underlying Ex Parte Application for Temporary Restraining Order.

 5   IV.      DEFENDANT FAY HAS ENTERED THIS CASE THROUGH COUNSEL AND
 6            HAS BEEN SERVED WIH ALL OPERATIVE DOCUMENTS.
              On the afternoon of March 22, 2024, Plaintiff’s counsel was contacted by Regina
 7
     McLendon of Locke Lord LLP regarding this matter. Ms. McLendon indicated that she would
 8
     know Monday, March 25, 2024 if she’d be retained for the matter and inquired about the
 9
     allegations and jurisdictional issues of the Complaint. Ms. McLendon also made note of the
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     judge’s suggestion that the parties come to a stipulation and indicated that she would take
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     additional information back to Fay Servicing for consideration. On March 25, 2024, Plaintiff’s
12
     counsel emailed Ms. McLendon about a thirty-day postponement of the foreclosure sale so that
13
     the parties could resolve the issues identified in Plaintiff’s Ex Parte Application for Temporary
14
     Restraining Order. At 11:20 am on March 25, 2024, Ms. McLendon indicated that she could not
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     accept service of documents or ex parte notices in this litigation. Therefore, Plaintiff’s counsel
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     hired a process server to personally serve Fay Servicing, LLC’s agent for service of process with
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     Plaintiff’s Complaint, Ex Parte Application, and the Court’s Briefing Order. Then, at
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     approximately 1:00 pm PST, Plaintiff filed a First Amended Complaint (Dkt. 14) and Plaintiff’s
19
     Supplemental Memorandum of Points and Authorities in Support of Ex Parte Application for
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     Temporary Restraining Order (Dkt. 15), which was included in the documents to be served
21
     through Wyatt Process Service, LLC. Thereafter, Defendant Fay Servicing, LLC filed a Response
22
     to the Ex Parte Application. (Dkt. 17).
23
              On March 26, 2024, I emailed Plaintiff’s First Amended Complaint (Dkt. 14) and
24
     Supplemental Memorandum of Points and Authorities in Support of Ex Parte Application for
25
     Temporary Restraining Order (Dkt. 15) to Regina McLendon (rmcclendon@lockelord.com).
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 1   V.       CONCLUSION

 2            For the reasons set forth herein, good cause exists to grant the instant ex parte application

 3   and restrain Defendant from proceeding with the Trustee’s Sale scheduled for March 27, 2024,

 4   until further order from this Court.

 5
     DATED: March 26, 2024                            Respectfully submitted,
 6
 7                                                    SHAPERO LAW FIRM, PC

 8
                                                      /s/ Jessica Galletta
 9                                                    Sarah Shapero, Esq.
                                                      Jessica Galletta, Esq.
10                                                    Attorneys for Plaintiff
                                                      KARA STEWART
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          RESPONSE TO ORDER TO SHOW CAUSE RE: CITIZENSHIP OF DEFENDANT FAY SERVICING, LLC AND PROOF OF SERVICE
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 1                                   PROOF OF SERVICE
 2                     STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

 3
            I am employed in the County of San Francisco, State of California. I am over the age of
 4   18 and not a party to the within action. My business address is 100 Pine St., Ste. 530, San
 5   Francisco, CA 94111.
 6          On March 26, 2024, I served the foregoing document described as:

 7   RESPONSE TO ORDER TO SHOW CAUSE RE: CITIZENSHIP OF DEFENDANT FAY
     SERVICING, LLC AND PROOF OF SERVICE
 8

 9
     On all interested parties in this action by email as stated on the following parties via the court’s
10   ECF system:

11   Regina J. McClendon
     Managing Partner, San Francisco Office
12
     Locke Lord LLP
13   101 Montgomery Street, Suite 1950
     San Francisco, CA 94104
14   T: 415-318-8804
     F: 415-707-2186
15   rmcclendon@lockelord.com
16
     I declare under penalty of perjury under the laws of the State of California that the above is true
17   and correct. Executed on March 26, 2024 at Charlotte, North Carolina.

18
19
20                                                           _____/s/ Jessica Galletta___________
                                                                  Jessica Galletta
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        RESPONSE TO ORDER TO SHOW CAUSE RE: CITIZENSHIP OF DEFENDANT FAY SERVICING, LLC AND PROOF OF SERVICE
